                                                      IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                                              LYNCHBURG DIVISION


                     RALPH BECK,                                                      )
                                                                                      )
                                                                                      )
                                         Plaintiff,                                   )
                     vs.                                                              )
                                                                                      ) Case No. 6:16-cv-00060
                     SHANA LESTER                                                     )
                                                                                      )
                                                                                      )
                     and                                                              )
                                                                                      )
                     CRYSTAL V. L. RIVERS                                             )
                                                                                      )
                                         Defendants.                                  )

                                                BRIEF IN SUPPORT OF MOTION TO REMAND

                                There is no conceivable basis for federal jurisdiction in this case. In her Notice of

                     Removal, defendant Crystal Rivers ("Rivers") invokes 28 U.S.C. § 1332(a) as the basis for

                     removal.1 But for diversity jurisdiction to exist under that statute the suit must be between

                     citizens of different states – meaning that each defendant must be a citizen of a different state

                     from the plaintiff. 28 U.S.C. § 1332(a); Gordon v. Hartford Fire Ins. Co., 105 Fed. Appx. 476,

                     481 (4th Cir. 2004). Here, the State Court Complaint plainly shows that the plaintiff is a resident

                     of the Commonwealth of Virginia, and that both of the defendants are residents of the

                     Commonwealth of Virginia. Rivers concedes this – the Civil Cover Sheet she completed, signed

                     and filed with the Court plainly reflects that the plaintiff and the defendants are all citizens of

                     Virginia.2 The suggestion that the Court has diversity jurisdiction is frivolous.
WOODS ROGERS PLC
ATTORNEYS AT LAW




                     1
                         Notice of Removal, ¶ 7. Rivers mistakenly references the statute as "28 U.S.C. § 13329(a)."
                     2
                         Civil Cover Sheet, Docket No. 1-1, Sections I & III.



                   Case 6:16-cv-00060-NKM Document 5 Filed 10/07/16 Page 1 of 4 Pageid#: 260
                     {#1965222-1, 113596-00003-01}
                                Moreover, as a citizen of the Commonwealth of Virginia, Rivers cannot remove the case

                     on the basis of diversity of citizenship (even if diversity jurisdiction otherwise existed) because

                     she is a resident of the forum state. 28 U.S.C. § 1441 (b)((2) ("A civil action otherwise

                     removable solely on the basis of the jurisdiction under section 1332(a) of this title may not be

                     removed if any of the parties in interest properly joined and served as defendants is a citizen of

                     the State in which such action is brought.").

                                In contradiction of the assertions in the Notice of Removal, on the Civil Cover Sheet

                     Rivers checked a box stating that the basis for jurisdiction is that there is a "Federal Question."3

                     But a review of the State Court Complaint shows that the causes of action asserted by the

                     Plaintiff are all State law claims. The Complaint seeks to quiet title to real property located in

                     Bedford County, Virginia (Count I); seeks a declaratory judgment under Virginia Code §§ 8.01-

                     184 et seq. as to the validity of a document filed in the real estate records in Bedford County,

                     Virginia (Count II); seeks money damages for breach of a contract between two Virginia

                     residents (Count III); seeks contractual indemnification under a contract between two Virginia

                     residents (Count IV); and seeks recovery of attorneys' fees under a provision in that same

                     contract (Count V).4 These are all claims arising purely under State law and implicating State

                     concerns. Because federal law does not form the basis for any of the causes of action asserted by

                     the Plaintiff, and the Plaintiff's claims do not raise or implicate any federal issue at all, there is no

                     federal question jurisdiction. Gunn v. Minton, 133 S. Ct. 1059, 1064 (2013).

                                Whether federal question jurisdiction exists must be determined solely from the Plaintiff's

                     State Court Complaint, as federal jurisdiction cannot be predicated on a counterclaim. Holmes
WOODS ROGERS PLC
ATTORNEYS AT LAW     Group v. Vornado Air Circulation Sys., Inc., 535 U.S. 826, 831 (2002) (“[A] counterclaim –


                     3
                         Id., Section II.
                     4
                         The State Court Complaint is filed as Docket No. 1-2.



                   Case 6:16-cv-00060-NKM Document 5 Filed2 10/07/16 Page 2 of 4 Pageid#: 261
                     {#1965222-1, 113596-00003-01}
                     which appears as part of the defendant's answer, not as part of the plaintiff's complaint – cannot

                     serve as the basis for ‘arising under’ jurisdiction.”). So any causes of action which Rivers has

                     asserted in her State Court Counterclaim – or which she might intend to assert in the future –

                     cannot create federal question jurisdiction.5 There is no colorable argument that this action

                     presents any federal question whatsoever.

                              The Notice of Removal is also procedurally improper6 – but the Court need not even

                     reach those issues because it is clear that no federal jurisdiction exists and that the case must

                     therefore be remanded back to the Circuit Court of Bedford County, Virginia.

                                                                           Respectfully submitted,

                                                                           RALPH BECK


                                                                                 /s/ Mark D. Loftis
                                                                           By____________________________________
                                                                                          Of Counsel


                     Mark D. Loftis, Esq. (VSB #30285)
                     loftis@woodsrogers.com
                     WOODS ROGERS PLC
                     Wells Fargo Tower, Suite 1400
                     10 South Jefferson Street
                     P. O. Box 14125
                     Roanoke, Virginia 24038-4125
                     Telephone: (540) 983-7600
                     Facsimile: (540) 983-7711

                         Counsel for Ralph Beck




WOODS ROGERS PLC     5
ATTORNEYS AT LAW       The Civil Cover Sheet does not identify any federal statute that gives rise to any cause of action, nor does it
                     describe any federal cause of action. See Docket No. 1-1, Section VII.
                     6
                       Defendant Rivers failed to file the notice of removal within 30 days of service of the State Court Complaint upon
                     her as required by 28 U.S.C. § 1446(b)(2)(B); failed to obtain the consent of the co-defendant, Shana Lester, as
                     required by 28 U.S.C. § 1446(b)(2)(A); and failed to include "a copy of all process, pleadings, and orders served
                     upon such defendant or defendants in" the State Court action as required by 28 U.S.C. § 1446(a).



                   Case 6:16-cv-00060-NKM Document 5 Filed3 10/07/16 Page 3 of 4 Pageid#: 262
                     {#1965222-1, 113596-00003-01}
                                                         CERTIFICATE OF SERVICE

                              I hereby certify that on this 7th day of October, 2016, a true and accurate copy of the

                     foregoing was electronically filed with the Clerk of the Court using the CM/ECF system. I

                     further certify that on that same date a true copy of the foregoing was sent via first-class mail to

                     the following who are not participants in the CM/ECF system:

                                        Steven R. Grant, Esq.
                                        1 Cedar Hill Ct # C
                                        Bedford, Virginia 24523
                                               Counsel for Defendant Shana Lester

                                        Crystal Rivers
                                        3831 Old Forest Road, Suite 6
                                        Lynchburg, Virginia 24501
                                               Pro se


                                                                    /s/ Mark D. Loftis
                                                                    ______________________________________




WOODS ROGERS PLC
ATTORNEYS AT LAW




                   Case 6:16-cv-00060-NKM Document 5 Filed4 10/07/16 Page 4 of 4 Pageid#: 263
                     {#1965222-1, 113596-00003-01}
